Case 2:04-Cv-02157-.]PI\/|-tmp Document 27 Filed 05/10/05 Page 1 of 2 Page|D 46

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IN THE UNITED sTATEs DIsTRIcT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEES{:W IG'/PH 3138
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'M.L"`)v £}§‘ iI'é.

 

BENNY FEATHERSTON,
Plaintiff,

v.

No. 04-2157 Ml/P

CHARMS COMPANY,

Defendant.

Vvvvv`»vvv\¢¢

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Granting Defendant’a Motion for Summary
Judgment and Order Denying Plaintiff'$ Motion for Partial Summary
Judgment, entered May 10, 2005, judgment is hereby entered in
favor of Defendant Charms Company and against Plaintiff Benny
Featherston.

APPROVED:

0 m`O,M,

JO P. MCCALLA
UN TED STATES DISTRICT COURT

 

 

 

  

 

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Date Clerk of Court
/ w f

(By) Deputy Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02157 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

